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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       Criminal No. 20-800 (RBK)


                   v.

CHRISTOPHER KYLE JOHNSTON,                     ORDER FOR CONTINUANCE
TRENT BROCKMEIER, and
CHRISTOPHER CASSERI


      It is the findings of this Court that this matter should be continued:

      1.     All defendants have consented to this continuance.

      2.     This case is an unusual or complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii) and (iii), in light of the number of

charges and the nature of the prosecution.

      3.     The discovery in the case is voluminous and additional time is necessary

to ensure that, taking into account the exercise of diligence, counsel have sufficient

time to review and inspect discovery and further investigate the charges in this

matter.

      4.     The coronavirus (“COVID-19”) pandemic has caused certain necessary

limitations and delays in matters pending before the Court. By way of the Court’s

Standing Orders 2021-04 (March 11, 2021) and 2021-11 (Dec. 29, 2021), the time

periods of March 16, 2020 through June 1, 2021 and December 29, 2021 through

January 31, 2022 are “excluded time” in all criminal cases under the Speedy Trial

Act. Although criminal trials in the District of New Jersey have at present resumed

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in person, the Chief Judge has ordered that trials must be conducted in a manner

that ensures the safety of all parties, including prospective jurors. Accordingly, a

continuance is warranted to address the ongoing effects of the COVID-19 pandemic.

         5.    As a result of the foregoing, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

(h)(7)(B)(ii), (iii), and (iv), the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendants in a speedy

trial.



         IT IS, therefore, on this _______
                                    16th   day of _____________,
                                                    June         2022,

         (1)   ORDERED that this action be, and hereby is, continued until

October 3, 2022; and it is further


         (2)    ORDERED that the period from the date of this order through October

3, 2022 be and it hereby is excluded in computing time under the Speedy Trial Act of

1974, 18 U.S.C. § 3161 et seq.




                                          __________________________________________
                                          HONORABLE ROBERT B. KUGLER
                                          United States District Judge




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